              Case: 1:24-cv-00590-DRC Doc #: 15 Filed: 07/01/25 Page: 1 of 1 PAGEID #: 120
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                       SouthernDistrict
                                                   __________   Districtofof__________
                                                                             Ohio

                         VICTORIA LOVETT                            )
                                   Plaintiff                         )
                                                                     )       Civil Action No. 1:24-cv-590
                        CONTINUED.com, LLC                         )
                            Defendant                                )

                                               JUDGMENT IN A CIVIL ACTION

The court has ordered that (check one):

u the plaintiff (name)                                                                                         recover from the
defendant (name)                                                                                                  the amount of
                                                                            dollars ($               ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of             % per annum, along with costs.

u the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other: The Court GRANTS Continued’s Motion to Dismiss (Doc. 6). But because this is a first dismissal, the
u
              Court DISMISSES Lovett’s action WITHOUT PREJUDICE.



This action was (check one):

u tried by a jury with Judge                                                                          presiding, and the jury has
rendered a verdict.

u tried by Judge                                                                          without a jury and the above decision
was reached.

✔
u decided by Judge                    Douglas R. Cole                                          .

                                                                                                                                     .

Date:      7/1/25                                                           CLERK OF COURT



                                                                                          Signature of Clerk or Deputy Clerk
